                    Case 1-19-41456-ess                              Doc 1          Filed 03/13/19          Entered 03/13/19 13:56:53



     Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     Eastern District of New York                                                                                   CLERK
                                                                                                            U S BANKRUPTCY COURT
, Case number (/f known):   ___________                              Chapter you are filing under:
                                                                     6Zf   Chapter?
                                                                                                     t   EASTE~N DISTRICT OF NEW YORK
                                                                     D     Chapter 11                         RECEIVED- BROOKLYN
                                                                     0     Chapter 12
                                                                     0     Chapter 13                                             D   Check if this is an
                                                                                                             t·tAR 13 2.019           lrnt3Afed filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                    12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


                Identify Yourself

                                        About Debtor 1 :                                                     About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
                                         Santo
       government-issued picture
                                        First name                                                           First name
       identification (for example,
       your driver's license or          C
       passport).                       Middle name                                                          Middle name

       Bring your picture                Lopez
       identification to your meeting   Last name                                                            Last name   CLERK
       with the trustee.                                                                                      I I S BANKRUPTCY COURT
                                        Suffix (Sr., Jr., II, Ill)
                                                                                                           EAs!f1H~ribl'sfR1cr oF NEW voRK


2.    All other names you
      have used in the last 8           First name
      years
       Include your married or          Middle name                                                          Middle name
       maiden names.
                                        Last name                                                            Last name



                                        First name                                                           First name


                                        Middle name                                                          Middle name


                                        Last name                                                            Last name




3. Only the last 4 digits of
   your Social Security
                                        XXX           xx - -'7- -1- -2- -5-                                  XXX          xx - - - - - - - - -
   number or federal                    OR                                                                   OR
   Individual Taxpayer
   Identification number                9xx - xx               --------                                      9xx - xx        --------
       (ITIN)

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Debtor 1
                 Santo         C.                   Lopez                                                Case number (If known)_ _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name   Middle Name                 Last Name




                                            About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):


4. Any business names
       and Employer                         fill   I have not used any business names or EINs.               0      I have not used any business names or EINs.
       Identification Numbers
       (EIN) you have used in
       the last 8 years                     Business name                                                    Business name

       Include trade names and
       doing business as names
                                            Business name                                                    Business name




                                            EIN                                                              EIN



                                            EIN                                                              EIN




s. Where you live                                                                                            If Debtor 2 lives at a different address:


                                            100 Hendrix Street
                                            Number           Street                                          Number         Street




                                            Brooklyn                                 NY        11207
                                            City                                     State    ZIP Code       City                                  State     ZIP Code

                                            Kings
                                            County                                                           County


                                            If your mailing address is different from the one                If Debtor 2's mailing address is different from
                                            above, fill it in here. Note that the court will send            yours, fill it in here. Note that the court will send
                                            any notices to you at this mailing address.                      any notices to this mailing address.



                                            Number          Street                                           Number        Street



                                            P.O. Box                                                         P.O. Box


                                            City                                     State    ZIP Code       City                                  State    ZIP Code




6.    Why you are choosing                  Check one:                                                       Check one:
      this district to file for
      bankruptcy                            D      Over the last 180 days before filing this petition,       0   Over the last 180 days before filing this petition,
                                                   I have lived in this district longer than in any              I have lived in this district longer than in any
                                                   other district.                                               other district.

                                            Ga I have another reason. Explain.                               D   I have another reason. Explain.
                                                   (See 28 U.S.C. § 1408.)                                       (See 28 U.S.C. § 1408.)
                                                   I own real property in this district




     Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                    page 2
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Debtor 1
                 First Name        Middle Name
                                                                lope-z..
                                                            Last Name
                                                                                                          Case number (it known},_ _ _ _ _ _ _ _ _ _ _ _ __




               Tell the Court About Your Bankruptcy Case


7.    The chapter of the                         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                        for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
                                                 a;rthapter 7
      under
                                                 D   Chapter 11

                                                 D   Chapter 12

                                                 D   Chapter 13


a. How you will pay the fee                      D I will  pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                     local court for more details about how you may pay. Typically, if you are paying the fee
                                                     yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                     submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                     with a pre-printed address.

                                                 D   I need to pay the fee in installments. If you choose this option, sign and attach the
                                                     Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                                 crirequest that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                    By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                    less than 150% of the official poverty line that applies to your family size and you are unable to
                                                    pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                    Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for
       bankruptcy within the
       last 8 years?                             D Yes.     District _ _ _ _ _ _ _ _ _ _ When            _ _ _ _ _ _ Case number _ _ _ _ _ _ _ _ __
                                                                                                         MM/ DD /YYYY

                                                            District _ _ _ _ _ _ _ _ _ _ When            _ _ _ _ _ _ Case number _ _ _ _ _ _ _ _ __
                                                                                                         MM/ DD/YYYY

                                                            District _ _ _ _ _ _ _ _ _ _ When            _ _ _ _ _ _ Case number _ _ _ _ _ _ _ _ __
                                                                                                         MM/ DD /YYYY



10.   Are any bankruptcy
      cases pending or being
      filed by a spouse who is                   D Yes.     Debtor _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Relationship to you
      not filing this case with                             District _ _ _ _ _ _ _ _ _ _ When           _ _ _ _ _ _ Case number, if known _ _ _ _ _ _ __
      you, or by a business                                                                              MM/DD IYYYY
      partner, or by an
      affiliate?
                                                            Debtor _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Relationship to you
                                                            District _ _ _ _ _ _ _ _ _ _ When           _ _ _ _ _ _ Case number, if known _ _ _ _ _ _ __
                                                                                                         MM /DD/YYYY



11.   Do you rent your                           ~0-      Go to line 12.
      residence?                                 D   Yes. Has your landlord obtained an eviction judgment against you?

                                                            D   No. Go to line 12.
                                                            D   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                                part of this bankruptcy petition.




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                              --·------·-··--------··   -------------------------------------------
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Debtor 1                                                                                                    Case number {if known,) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                 First Name       Middle Name




              Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor
      of any full- or part-time
                                                s-1"     Go to Part 4.

      business?                                 D Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an
                                                          Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or
                                                          Number      Street
      LLC.
      If you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.
                                                           City                                                   State         ZIP Code



                                                          Check the appropriate box to describe your business:

                                                          D   Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                          D   Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))
                                                          D   Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                                          D   Commodity Broker (as defined in 11 U.S.C. § 101 (6))

                                                          D   None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
      are you a small business
      debtor?
                                                ~ - I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                      D   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(510).                             the Bankruptcy Code.

                                                D Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


              Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14. Do you own or have any
      property that poses or is
      alleged to pose a threat                  D Yes.     What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                                  If immediate attention is needed, why is it needed? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                           Where is the property? - - - - - - , , - - - - - - - - - - - - - - - - - - - - - -
                                                                                     Number        Street




                                                                                     City                                           State   ZIP Code


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Debtor 1     )Of\+O
              rirst Name      Mtddle Name
                                            Q           L DQe.-z-
                                                       Last Name
                                                                                                           Case number (ii known),_ _ _ _ _ _ _ _ _ _ _ _ _ __




           Explain Your Efforts to Receive a Briefing About Credit Counseling


                                            About Debtor 1 :                                                    About Debtor 2 (Spouse Only in a Joint Case):
1s. Tell the court whether
   you have received a
   briefing about credit                    You must check one:                                                 You must check one:
   counseling.
                                            D   I received a briefing from an approved credit                   D   I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                      counseling agency within the 180 days before I
   The law requires that you                    filed this bankruptcy petition, and I received a                    filed this bankruptcy petition, and I received a
   receive a briefing about credit              certificate of completion.                                          certificate of completion.
   counseling before you file for
                                                 Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
   bankruptcy. You must
                                                /'an, if any, that you developed with the agency.                   plan, if any, that you developed with the agency.
   truthfully check one of the
   following choices. If you                '&:f I received a briefing from an approved credit                  D   I received a briefing from an approved credit
   cannot do so, you are not                                                                                        counseling agency within the 180 days before I
                                                counseling agency within the 180 days before I
   eligible to file.                            filed this bankruptcy petition, but I do not have a                 filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                          certificate of completion.


   w1 as~ w a ever I mg .ee
                              ~~
   i{n~~i:~i:;rto~~ ~fi~hls~~~f                 :~htJt!~fes
                                                plan if any.
                                                                   aa~~~:~~ [~: ~~~i~~~t::~yp~~~~;t                 Within 14 days after you file this bankruptcy petition,
                                                                                                                    you MUST file a copy of the certificate and payment
                                                                                                                    plan, if any.
   you paid, and your creditors         ,.,.A-/'
   can. begin collection activities     'f!Z4'1 certify that I asked for credit counseling                      D   I certify that I asked for credit counseling
   again.      ·                 " {    )Ir     services from an approved agency, but was                           services from an approved agency, but was
                                 I'-'           unable to obtain those services during the 7                        unable to obtain those services during the 7
                                                days after I made my request, and exigent                           days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                       circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                 of the requirement.
                                                To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                   you were unable to obtain ii before you filed for
                                                bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                                required you to file this case.                                     required you to file this case.

                                                Your case may be dismissed if the court is                          Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must               If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.             still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                       You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                   developed, if any. If you do not do so, your case
                                                may be dismissed.                                                   may be dismissed.
                                                Any extension of the 30-day deadline is granted                     Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                    only for cause and is limited to a maximum of 15
                                                days.                                                               days.

                                V·~J,a.<am not required to receive a briefing about                             D   I am not required to receive a briefing about
                                                                                                                    credit counseling because of:
                                                credit counseling because of:

                                                D   Incapacity.      I have a mental illness or a mental            D   Incapacity.   I have a mental illness or a mental
                                                                     deficiency that makes me                                         deficiency that makes me
                                                                     incapable of realizing or making                                 incapable of realizing or making
                                                                     rational decisions about finances.                               rational decisions about finances.
                                                D   Disability.      My physical disability causes me               D   Disability.   My physical disability causes me
                                                                     to be unable to participate in a                                 to be unable to participate in a
                                                                     briefing in person, by phone, or                                 briefing in person, by phone, or
                                                                     through the internet, even after I                               through the internet, even after I
                                                                     reasonably tried to do so.                                       reasonably tried to do so.
                                                D   Active duty. I am currently on active military                  D   Active duty. I am currently on active military
                                                                 duty in a military combat zone.                                     duty in a military combat zone.
                                                If you believe you are not required to receive a                    If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                   briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.              motion for waiver of credit counseling with the court.




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Debtor 1                                                                                              Case number Ufknown) _ _ _ _ _ _ _ _ _ _ _ _ __
               First Name    Middle Name




             Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as "incurred by an individual primarily for a personal, family, or household purpose."
      you have?
                                                • No. Go to line 16b.
                                                • ,,,.(es. Go to line 17.
                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.

                                                ~ o . Go to line 16c.
                                                D   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.



11. Are you filing under
      Chapter7?                            D   No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after Elves. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                      ~o
      administrative expenses
      are paid that funds will be       D Yes
      available for distribution
      to unsecured creditors?

1a. How many creditors do                                                         •   1,000-5,000                                  •   25,001-50,000
    you estimate that you                  •   50-99                              •   5,001-10,000                                 •   50,001-100,000
    owe?                                   •   100-199                            •   10,001-25,000                                •   More than 100,000
                                           •   200-999

19.   How much do you                      •   $0-$50,000                         D   $1,000,001-$10 million                       • $500,000,001-$1 billion
      estimate your assets to              •   $50,001-$100,000                   •   $10,000,001-$50 million                      D $1,000,000,001-$1 O billion
      be worth?                            •  j100,001-$500,000                   D   $50,000,001-$100 million                     • $10,000,000,001-$50 billion
                                           13"$500,001-$1 million                 D   $100,000,001-$500 million                    D   More than $50 billion
                                                                                                               ••••••M••,•••••••

20. How much do you                        •   $0-$50,000                         D   $1,000,001-$10 million                       •   $500,000,001-$1 billion
      estimate your liabilities            •   $50,001-$100,000                   • $10,000,001-$50 million                        D   $1,000,000,001-$10 billion
      to be?                               •  j_100,001-$500,000                  D $50,000,001-$100 million                       D   $10,000,000,001-$50 billion
                                           9'$500,001-$1 million                  • $100,000,001-$500 million                      D   More than $50 billion
i@fi         Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7. 11, 12. or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection

                                           :u.s.c.
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                                     §§ 1 2, 13t519 and,d571.                             X

                                               Signature of Debtor 1                                           Signature of Debtor 2

                                               Executed on
                                                             MM        DD
                                                                         \ \9
                                                              Q3I \ \3 /YYYY                                   Executed on _ _ _ _ _ __
                                                                                                                           MM I DD IYYYY


  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                           page 6
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Debtor 1     Santo        C.                Lopez                                                 Case number (ff known),_ _ _ _ _ _ _ _ _ _ _ _ _ __
             FlrstNMlc   Middle Name              Last Name




                                       I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are          to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                     available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                       the notice required by 11 U.S.C. § 342(b) and, in a case in which§ 707(b)(4)(D) applies, certify that I have no
If you are not represented             knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                       X                                                                   Date
                                           Signature of Attorney for Debtor                                               MM         DD /YYYY




                                           Printed name



                                           Firm name



                                           Number      Street




                                           City                                                           State           ZIP Code




                                           Contact phone _ _ _ _ _ _ _ _ _ _ _ _ _ __                     Email address




                                           Bar number                                                     State




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Debtor 1   Sor,io        Middle Name          Last Name
                                                                                           Case number (ilknown;J_ _ _ _ _ _ _ _ _ _ _ _ _ __




For you if you are filing this         The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                  should understand that many people find it extremely difficult to represent
attorney                               themselves successfully. Because bankruptcy has long-term financial and legal
                                       consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                technical, and a mistake or inaction may affect your rights. For example, your case may be
                                       dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                       hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                       firm if your case is selected for audit. If that happens, you could lose your right to file another
                                       case, or you may lose protections, including the benefit of the automatic stay.

                                       You must list all your property and debts in the schedules that you are required to file with the
                                       court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                       in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                       property or properly claim ii as exempt, you may not be able to keep the property. The judge can
                                       also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                       case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                       cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                       Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                       If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                       hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                       successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                       Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                       be familiar with any state exemption laws that apply.

                                       Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                       consequences?
                                       ~o
                                       D   Yes

                                       Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                       inaccurate or incomplete, you could be fined or imprisoned?

                                       •   N_r
                                       ll}'yes

                                       ~ u pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

                                       D   Yes. Name of Person,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                       By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                       have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                       attorney may cause me to lose my rights or property if I do not properly handle the case.
                                                                            I
                                        Signature of Debtor 1                                       Signature of Debtor 2

                                       Date               o'.:3\ l3 I lct                           Date
                                                          MM/ DD   /YYYY                                             MM/ DD /YYYY

                                       Contact phone _ _ _ _ _ _ _ _ _ _ _ _ __                     Contact phone


                                       Cell phone                                                   Cell phone

                                       Email address                                                Email address



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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF NEW YORK


----------------------------------------------------x
In Re:                                                                        Case No.

                                                                              Chapter    1-

          (Y
      l ore2-                 Debtor(s)
----------------------------------------------------x



      VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS



               The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.




                                                        Debtor



                                                        Joint Debtor


                                                        s/
                                                        Attorney for Debtor




USBC-44                                                                                       Rev. 11/15
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                               MATRIX




Wells Fargo

P.O. Box 14411

Des Moines LA 50306-3411
